                       Case: 23-2971 Document: 20 Page: 1 Date Filed: 11/14/2023
                       UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT
                                              No. 23-2971 and 23-2972

  LTL Management LLC and the Ad Hoc Committee of Supporting             The Official Committee of Talc Claimants,
  Counsel                                                           vs. et al

                                          ENTRY OF APPEARANCE

Please list the names of all parties represented, using additional sheet(s) if necessary:

ARNOLD & ITKIN LLP, on behalf of Talc Personal Injury Claimants who are represented by Arnold & Itkin
LLP

Indicate the party’s role IN THIS COURT (check only one):
                  Petitioner(s)             Appellant(s)                    Intervenor(s)

                  Respondent(s)             Appellee(s)                     Amicus Curiae

(Type or Print) Counsel’s Name Laura Davis Jones
                                        Mr.                 Ms.             Mrs.               Miss              Mx.

Firm

Address

City, State, Zip Code

Phone                                                         Fax

Primary E-Mail Address (required) ljones@pszjlaw.com
Additional E-Mail Address (1)
Additional E-Mail Address (2)
Additional E-Mail Address (3)

If your organization has created a common or general email address for purposes of receiving
ECF notices, that common email address MUST be one of the listed additional email addresses.
Notices generated from the Court’s ECF system will be sent to both the primary e-mail and additional
e-mail addresses. You are limited to 3 additional e-mail addresses.

SIGNATURE OF COUNSEL: /s/ Laura Davis Jones




REV. 10/20/2020
DOCS_DE:245386.1 05471/003
DE:4892-5531-9440.1 05471.003
                                                                                       American LegalNet, Inc.
                                                                                       www.FormsWorkFlow.com
            Case: 23-2971 Document: 20 Page: 2   Date Filed: 11/14/2023
COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
NOTICES OR COPIES OF DOCUMENTS INCLUDING BRIEFS AND APPENDICES. ONLY
ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.




REV. 10/20/2020
DOCS_DE:245386.1 05471/003
DE:4892-5531-9440.1 05471.003
                                                                             American LegalNet, Inc.
                                                                             www.FormsWorkFlow.com
